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                            UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO




     HEIDI H. PECK; an individual,                  Case No. 4:22-cv-00381-BLW

                    Plaintiff,                      AMENDED CASE MANAGEMENT
                                                    ORDER TRACK: (Standard)
          v.

     UNITED PARCEL SERVICE, INC. an
     Ohio Corporation,

                    Defendants.



IT IS ORDERED:

1.       The deadlines set in the Court’s earlier Case Management Order entered by

         Judge Dale (Dkt. 14) are hereby adopted by the undersigned Judge.

2.       Additionally, the following provisions shall govern this case:

         a.       Dispositive Motions: The dispositive motion deadline will not be

                  extended even if you are having discovery disputes. This is the critical

                  event for case management and will dictate when the trial will be set. As

                  provided below, a trial setting conference will be scheduled immediately

                  following resolution of all dispositive motions. To facilitate a prompt

                  trial setting, I will make every effort to schedule oral argument within 60

                  days and issue a decision within 30 days after the oral argument. If a
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         decision is not issued within this time frame, I invite inquiry from

         counsel as to the status of the decision.

b.       Discovery: Discovery requests must be made far enough in advance of

         the dispositive motion to allow completion of the discovery by the

         deadline date. The parties may, by stipulation, agree to defer some trial-

         related discovery, such as discovery related to damages issue, until after

         I have ruled on any dispositive issues.

c.       Rules Governing Disclosure of Expert Witnesses: Within the deadlines

         for disclosure of expert witnesses set out in the earlier CMO, the parties

         shall also provide – for each expert disclosed – the report described in

         Fed. R. Civ. P. 26(a)(2)(B), as modified by Local Rule 26.2(b).

         Supplementation to the expert witness report shall be done in accordance

         with Fed. R. Civ. P. 26(e)(1). Pursuant to Local Rule 26.2(b), expert

         witnesses will not be allowed to offer any opinion not disclosed in the

         mandatory Rule 26 disclosures, supplementation, or deposition. This

         includes rebuttal experts. No undisclosed expert rebuttal opinion

         testimony will be allowed at trial.

d.       Scheduling of Trial and Pretrial Conference: Plaintiff’s counsel shall

         contact In-Court Deputy Jamie Gearhart within one week following the

         entry of a decision on all pending dispositive motions to make

         arrangements for a telephone scheduling conference between counsel
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         and me in which the trial and pretrial conference shall be set. If no

         dispositive motion is filed, Plaintiff’s counsel shall immediately contact

         Ms. Gearhart within one week of the dispositive motion filing deadline

         to set a telephone scheduling conference.

e.       Law Clerk: If counsel has a procedural or legal question that needs to be

         brought to my attention, please contact Julie Varin, the law clerk

         assigned to this case at (208) 334-9256 or julie_varin@id.uscourts.gov.

f.       Handling of Discovery Disputes and Non-disposition Motion:

         i.     I will not refer this case to a magistrate judge for resolution of

                discovery disputes and non-dispositive motions. I will keep these

                motions on my own docket.

         ii.    The parties will strictly comply with the meet and confer

                requirements of Local Rule 37.1 prior to filing any discovery

                motions.

         iii.   In addition, I will not entertain any written discovery motions

                until the Court has been provided with an opportunity to

                informally mediate the parties’ dispute. To facilitate that

                mediation, the attorneys will first contact Ms. Varin and shall

                provide him with a brief written summary of the dispute and the

                parties’ respective positions. Ms. Varin may be able to offer

                suggestions that will resolve the dispute without the need of my
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             involvement. If necessary, an off-the-record telephonic conference

             with me will then be scheduled as soon as possible. I will seek to

             resolve the dispute during that conference and may enter

             appropriate orders on the basis of the conference. I will only

             authorize the filing of a discovery motion and written briefing if

             we are unable to resolve the dispute during the conference.

     iv.     Prior to filing any discovery motions, counsel must certify, not

             only that they have complied with Local Rule 37.1, but that they

             have complied with the foregoing procedures.

g.   Calendaring Clerk: With regard to any scheduling matters or calendar

     issues, please contact my deputy clerk, Jamie Gearhart at (208) 334-

     9021.

h.   Docketing Clerk: If you have a docketing question, please contact a

     docket clerk at (208) 334-1361.




                                        DATED: December 2, 2022


                                        _________________________
                                        B. Lynn Winmill
                                        U.S. District Court Judge
